Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 1 of 9 Page ID
                                 #:51994




                  EXHIBIT 5
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 2 of 9 Page ID
                                 #:51995



  1   Joseph R. Re (Bar No. 134479)
      joseph.re@knobbe.com
  2   Stephen C. Jensen (Bar No. 149894)
  3   steve.jensen@knobbe.com
      Benjamin A. Katzenellenbogen (Bar No. 208527)
  4   ben.katzenellenbogen@knobbe.com
      Perry D. Oldham (Bar No. 216016)
  5   perry.oldham@knobbe.com
  6   Stephen W. Larson (Bar No. 240844)
      stephen.larson@knobbe.com
  7   KNOBBE, MARTENS, OLSON & BEAR, LLP
      2040 Main Street, Fourteenth Floor
  8   Irvine, CA 92614
      Telephone: (949)-760-0404; Facsimile: (949)-760-9502
  9
 10   Adam B. Powell (Bar. No. 272725)
      adam.powell@knobbe.com
 11   KNOBBE, MARTENS, OLSON & BEAR, LLP
      3579 Valley Centre Drive
 12   San Diego, CA 92130
 13   Telephone: (858) 707-4000; Facsimile: (858) 707-4001

 14   Attorneys for Plaintiffs,
      Masimo Corporation and Cercacor Laboratories, Inc.
 15
 16                    IN THE UNITED STATES DISTRICT COURT
 17                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18                                SOUTHERN DIVISION
 19
      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
 20   a Delaware corporation; and            )
      CERCACOR LABORATORIES, INC.,           ) PLAINTIFFS MASIMO
 21   a Delaware corporation                 ) CORPORATION AND
                                             ) CERCACOR LABORATORIES,
 22               Plaintiffs,                ) INC.’S SEVENTH SET OF
                                             ) REQUESTS FOR PRODUCTION
 23         v.                               ) OF DOCUMENTS TO
                                             ) DEFENDANT APPLE INC. (NOS.
 24   APPLE INC., a California corporation   ) 257-280)
                                             )
 25                                          )
                  Defendant.                 ) Hon. James V. Selna
 26                                          ) Magistrate Judge John D. Early
                                             )
 27
 28

                                                                           Exhibit 5
                                                                            Page 1
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 3 of 9 Page ID
                                 #:51996



  1          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure,
  2   Plaintiffs   MASIMO       CORPORATION          (“Masimo”)         and   CERCACOR
  3   LABORATORIES, INC. (“Cercacor”) (collectively, “Plaintiffs”) hereby request
  4   that Defendant APPLE INC. (“Apple”) respond to the following Requests for
  5   the Production of Documents and Things (the “Requests”) within thirty (30)
  6   days of service of these Requests and produce the documents and things
  7   described herein at the offices of counsel for Masimo within the time prescribed
  8   by the Federal Rules of Civil Procedure. These Requests are deemed continuing
  9   in nature, requiring amended or supplemental responses as necessary.
 10                                    DEFINITIONS
 11          Notwithstanding any definition set forth below, each word, term or phrase
 12   used in these Requests is intended to have the broadest meaning permitted under
 13   the Federal Rules of Civil Procedure. As used in these Requests, the following
 14   terms are to be interpreted in accordance with these definitions:
 15          1.    The terms “Apple,” “Defendant,” “You,” and “Your” mean
 16   Defendant Apple, Inc., as well as any present or former officer, director,
 17   employee, agent, attorney, or other representative acting for or on behalf of
 18   Defendant Apple, Inc.
 19          2.    “Masimo” means Masimo Corporation, including its divisions,
 20   departments, parents, subsidiaries, affiliates or predecessors.
 21          3.    “Cercacor” means Cercacor Laboratories, Inc., including its
 22   divisions, departments, parents, subsidiaries, affiliates or predecessors.
 23          4.    The term “Plaintiffs” shall mean Masimo and Cercacor as defined
 24   above.
 25          5.    “Masimo Asserted Patents” means the patents Plaintiffs are
 26   asserting in this case, including U.S. Patent No. 10,258,265, U.S. Patent No.
 27   10,292,628, U.S. Patent No. 10,588,553, U.S. Patent No. 10,588,554, U.S.
 28   Patent No. 10,624,564, U.S. Patent No. 10,631,765, U.S. Patent No. 10,702,194,
                                              -1-
                                                                                   Exhibit 5
                                                                                    Page 2
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 4 of 9 Page ID
                                 #:51997



  1   U.S. Patent No. 10,702,195, U.S. Patent No. 10,709,366, U.S. Patent No.
  2   6,771,994, U.S. Patent No. 8,457,703, and U.S. Patent No. 10,433,776. To the
  3   extent Plaintiffs assert additional patents in a future pleading, “Masimo Asserted
  4   Patents” shall be construed to include such patents.
  5         6.     “Apple Watch Products” means smartwatches produced by Apple,
  6   including the Original Apple Watch, Apple Watch Series 1, Apple Watch Series
  7   2, Apple Watch Series 3, Apple Watch Series 4, Apple Watch Series 5, Apple
  8   Watch Series SE, Apple Watch Series 6, and any subsequent series of the Apple
  9   Watch.
 10         7.     “Apple iPhone” means Apple iPhone products that use Apple’s
 11   mobile iOS operating system.
 12         8.     “Accused Products” means Apple Watch Series 3 or later, as well
 13   as the combination of Apple Watch Series 4 or later with an Apple iPhone.
 14         9.     “Apple Watch Series 7” means the Apple Watch models or
 15   prototypes following the Apple Watch Series 6, which was released on
 16   September 18, 2020, regardless of whether it has been released yet or what it is
 17   called internally or publicly.   For avoidance of doubt, “Accused Products”
 18   defined above includes the Apple Watch Series 7.
 19         10.    The “Disputed Patents” means the patents or patent applications
 20   that Plaintiffs assert should have their inventorship and/or ownership corrected,
 21   including U.S. Patent No. 10,078,052, U.S. Patent No. 10,247,670, U.S. Patent
 22   No. 9,952,095, and U.S. Patent No. 10,219,754, U.S. Patent No. 10,524,671,
 23   U.S. Patent App. No. 15/960,507, and U.S. Patent App. No. 16/700,710. To the
 24   extent Plaintiffs identify additional such patents or patent applications in a
 25   future pleading, “Disputed Patents” shall be construed to include such patents.
 26         11.    The term “Computer Media” shall mean and refer to all computer
 27   storage devices, including both internal and external hard drives, CDs, DVDs,
 28   flash drives, tapes, and any other electronic storage media.
                                             -2-
                                                                                   Exhibit 5
                                                                                    Page 3
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 5 of 9 Page ID
                                 #:51998



  1         12.    The term “Former Employee” shall mean and refer to any current
  2   or former Apple employee who worked at Masimo or Cercacor before being
  3   employed by Apple.
  4         13.    The term “documents” shall be construed to include all writings
  5   and graphics of any sort whatsoever, together with any data stored in electronic
  6   or any other form, including, but not limited to, books, records, microfilm, tape
  7   or video recordings, emails, voice mails, handwritten notes, phone messages,
  8   pictures, and all copies of such documents except those that are identical in
  9   every respect to the original document.
 10         14.    The term “things” shall mean all tangible objects of any type,
 11   composition, construction, or nature.
 12         15.    The term “and” shall be construed to include “or” and vice versa,
 13   and each of them shall be the logical equivalent of “and/or.”
 14         16.    The term “concerning” shall mean relating to, referring to,
 15   describing, evidencing, or constituting.
 16         17.    The term “communication” shall mean and refer to the transmittal
 17   of information (in the form of facts, ideas, inquiries, or otherwise).
 18         18.    The use of the singular form of any word also includes the plural
 19   and vice versa, and a verb tense includes all other verb tenses wherever possible.
 20                                   INSTRUCTIONS
 21         1.     Produce all documents specified below that are in Your possession,
 22   custody, or control, or otherwise known and available to You, Your agents,
 23   employees, representatives, investigators, attorneys or their agents, employees,
 24   representatives, or investigators at the time and place indicated.
 25         2.     If You claim that any requested documents or things are privileged,
 26   then provide all information falling within the scope of the Request that is not
 27   privileged and identify with sufficient particularity for purposes of a motion to
 28   compel the information, document, or thing, separately, with respect to which
                                              -3-
                                                                                   Exhibit 5
                                                                                    Page 4
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 6 of 9 Page ID
                                 #:51999



  1   REQUEST FOR PRODUCTION NO. 263:
  2            All documents or communications describing, referencing or relating to
  3   Apple’s policies, procedures, or strategies for evaluating whether an Apple
  4   product violates the intellectual property of others, including through patent
  5   infringement or trade secret misappropriation.
  6   REQUEST FOR PRODUCTION NO. 264:
  7            All documents or communications referencing or relating to any
  8   evaluation by Apple of whether the Apple Watch did or did not violate the
  9   intellectual property of others, including through patent infringement or trade
 10   secret misappropriation.
 11   REQUEST FOR PRODUCTION NO. 265:
 12            All documents or communications referencing or relating to the research,
 13   design, and/or development of Defendant’s Apple Watch Series 7, and/or any
 14   component of Defendant’s Apple Watch Series 7 that measures physiological
 15   parameters, including oxygen saturation, pulse rate, perfusion index, total
 16   hemoglobin,        oxygen   content,   pleth    variability     index, methemoglobin,
 17   carboxyhemoglobin, respiration rate from the pleth, or blood glucose,
 18   including, without limitation, laboratory notebooks, invention disclosures,
 19   memoranda, product specifications, conceptual or technical drawings,
 20   schematics, diagrams, technical specifications, meeting minutes, presentations,
 21   and prototypes.
 22   REQUEST FOR PRODUCTION NO. 266:
 23            All documents or communications referencing or relating to the decisions
 24   to research, design, and/or develop Defendant’s Apple Watch Series 7, and/or
 25   any component of Defendant’s Apple Watch Series 7 that measures
 26   physiological parameters, including oxygen saturation, pulse rate, perfusion
 27   index,     total    hemoglobin,    oxygen       content,      pleth   variability   index,
 28   methemoglobin, carboxyhemoglobin, respiration rate from the pleth, or blood
                                                -6-
                                                                                           Exhibit 5
                                                                                            Page 5
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 7 of 9 Page ID
                                 #:52000



  1   glucose.
  2   REQUEST FOR PRODUCTION NO. 267:
  3         All documents or communications referencing or relating to the function
  4   of Defendant’s Apple Watch Series 7 and/or any component of Defendant’s
  5   Apple Watch Series 7 that measures physiological parameters, including oxygen
  6   saturation, pulse rate, perfusion index, total hemoglobin, oxygen content, pleth
  7   variability index, methemoglobin, carboxyhemoglobin, respiration rate from the
  8   pleth, or blood glucose.
  9   REQUEST FOR PRODUCTION NO. 268:
 10         An inspection of Defendant’s Apple Watch Series 7, including without
 11   limitation, prior versions and prototypes.
 12   REQUEST FOR PRODUCTION NO. 269:
 13         All documents or communications referencing or relating to all efforts to
 14   market Defendant’s Apple Watch Series 7 to consumers. For avoidance of
 15   doubt, this includes documents and things related to efforts to advertise and sell
 16   said Apple Watch Series 7 to consumers.
 17   REQUEST FOR PRODUCTION NO. 270:
 18         All documents or communications referencing or relating to sales
 19   projections for Defendant’s Apple Watch Series 7.
 20   REQUEST FOR PRODUCTION NO. 271:
 21         Documents sufficient to identify all persons involved in the research,
 22   design, and development of any physiological measurement capability,
 23   including oxygen saturation, pulse rate, perfusion index, total hemoglobin,
 24   oxygen content, pleth variability index, methemoglobin, carboxyhemoglobin,
 25   respiration rate from the pleth, or blood glucose, of the Apple Watch Series 7.
 26   REQUEST FOR PRODUCTION NO. 272:
 27         Documents sufficient to identify any oxygen saturation, pulse rate,
 28   perfusion index, total hemoglobin, oxygen content, pleth variability index,
                                              -7-
                                                                                   Exhibit 5
                                                                                    Page 6
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 8 of 9 Page ID
                                 #:52001



  1   methemoglobin, carboxyhemoglobin, respiration rate from the pleth, or blood
  2   glucose algorithm that You have implemented, ever considered implementing,
  3   or are planning to implement in the Apple Watch Series 7.
  4   REQUEST FOR PRODUCTION NO. 273:
  5         Documents sufficient to identify when You began the research, design,
  6   and/or development of any perfusion index, total hemoglobin, oxygen content,
  7   pleth variability index, methemoglobin, carboxyhemoglobin, respiration rate
  8   from the pleth, or blood glucose functionality, including, but not limited to, any
  9   such functionality implemented in the Apple Watch Series 7.
 10   REQUEST FOR PRODUCTION NO. 274:
 11         Documents sufficient to identify any case in which You asserted claims
 12   for misappropriation of trade secrets.
 13   REQUEST FOR PRODUCTION NO. 275:
 14         Documents sufficient to identify the trade secrets that You asserted in any
 15   case in which You asserted claims for misappropriation of trade secrets.
 16   REQUEST FOR PRODUCTION NO. 276:
 17         All of Your interrogatory responses in any case in which You asserted
 18   claims for misappropriation of trade secrets.
 19   REQUEST FOR PRODUCTION NO. 277:
 20         Transcripts of depositions or trial testimony (and exhibits thereto) for any
 21   of Your employees in any case in which You asserted claims for
 22   misappropriation of trade secrets.
 23   REQUEST FOR PRODUCTION NO. 278:
 24         Transcripts of depositions or trial testimony (and exhibits thereto) for any
 25   of Your employees in any case in which You asserted claims for
 26   misappropriation of trade secrets.
 27   ///
 28   ///
                                               -8-
                                                                                   Exhibit 5
                                                                                    Page 7
Case 8:20-cv-00048-JVS-JDE Document 744-7 Filed 05/25/22 Page 9 of 9 Page ID
                                 #:52002



  1   REQUEST FOR PRODUCTION NO. 279:
  2         All documents or communications referring or relating to how many
  3   Apple Watch customers use each of the features listed under the “Quick Look”
  4   heading of the website https://www.apple.com/watch/compare for each Apple
  5   Watch Product, including all Apple Watch Products both listed and not listed on
  6   that website that use features listed on that website.
  7   REQUEST FOR PRODUCTION NO. 280:
  8         All documents or communications referring or relating to the proportion
  9   of Apple Watch customers use each of the features listed under the “Quick
 10   Look” heading of the website https://www.apple.com/watch/compare for each
 11   Apple Watch Product, including all Apple Watch Products both listed and not
 12   listed on that website that use features listed on that website.
 13
 14                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
 15
 16   Dated: April 28, 2021             By: /s/ Adam B. Powell
                                            Joseph R. Re
 17                                         Stephen C. Jensen
                                            Benjamin A. Katzenellenbogen
 18                                         Perry D. Oldham
                                            Stephen W. Larson
 19                                         Mark D. Kachner
                                            Adam B. Powell
 20
                                            Attorneys for Plaintiffs,
 21                                         Masimo Corporation and
                                            Cercacor Laboratories, Inc.
 22
 23
 24
 25
 26
 27
 28
                                               -9-
                                                                                Exhibit 5
                                                                                 Page 8
